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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 CARROLL INDEPENDENT SCHOOL                   §
 DISTRICT,                                    §
                                              §
         Plaintiff,                           §
                                              §
 v.                                           §
                                              §
 UNITED STATES DEPARTMENT OF                  §
 EDUCATION; MIGUEL CARDONA,                   §
 in his official capacity as Secretary of the §
 United States Department of Education; §
 CATHERINE E. LHAMON, in her                  §
 official capacity as Assistant Secretary     §
                                                    Civil Action No. 4:24-cv-00461-O
 for Civil Rights at the United States        §
 Department of Education; UNITED              §
 STATES DEPARTMENT OF                         §
 JUSTICE; MERRICK B. GARLAND,                 §
 in his official capacity as Attorney         §
 General of the United States; and            §
 KRISTEN CLARKE, in her official              §
 capacity as Assistant Attorney General       §
 for the Civil Rights Division of the         §
 United States Department of Justice,         §
                                              §
         Defendants.                          §



                                            ORDER

       Before the Court are Plaintiff’s Motion to Delay Effective Date and for Preliminary

Injunction (ECF No. 15), filed on May 30, 2024, and Defendants’ Response (ECF No. 28), filed

on June 20, 2024. Given the issue will be fully briefed on July 5, 2024, and because the Plaintiff

seeks relief on an expedited basis, the Court sets an in-person hearing on Monday, July 8, 2024,

at 9:00 am to discuss this motion. The hearing will convene in the Second Floor Courtroom, 501

W. 10th Street, Fort Worth, Texas.

       SO ORDERED on this 27th day of June, 2024.


                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE
